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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

CARL BARBER, Jr., and REX HARROLD            )
     Plaintiffs,                             )
                                             )
                          v.                 )             Case No.
                                             )
TOWN OF GASTON, TANYA HIATT, in her          )
individual and official capacity, JAY BEESON )
in his individual and official capacity,     )
RICHARD DURANT, in his individual capacity, )
and HEATHER MCGONIGLE, in her individual )
capacity,                                    )
         Defendants.                         )


  COMPLAINT FOR DECLARATORY RELIEF, DAMAGES, AND REQUEST FOR JURY TRIAL

       Come now Plaintiff, Carl Barber, Jr. (hereinafter “Plaintiff Barber”), and Plaintiff, Rex Harrold

(hereinafter “Harrold”), by counsel, Brian M. Pierce, and file their complaint for declaratory relief and

damages against Defendant, the Town of Gaston (hereinafter “Defendant Gaston” or “Town of

Gaston”), Defendant, Tanya Hiatt (hereinafter “Defendant Hiatt”), in her individual and official

capacity, Defendant, Jay Beeson (hereinafter “Defendant Beeson”), in his individual and official

capacity (hereinafter collectively referred to as “the Gaston Defendants”), Defendant, Richard Durant

(hereinafter “Defendant Durant”), in his individual capacity only, and Defendant, Heather McGonigle

(hereinafter “Defendant McGonigle”), in her individual capacity only. In support, Plaintiff Barber and

Plaintiff Harrold allege the following:

                            A.       Venue and Subject Matter Jurisdiction

       1.      Plaintiff Barber is a resident of Delaware County, State of Indiana, which is within the

jurisdiction of the federal court of the Southern District of Indiana.

       2.      Plaintiff Harrold is a resident of Delaware County, State of Indiana, which is within the

jurisdiction of the federal court of the Southern District of Indiana.

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       3.      Defendant Gaston has its principle place of business, and is located, within Delaware

County, State of Indiana, which is within the jurisdiction of the federal court of the Southern District of

Indiana.

       4.      Defendant Hiatt, in her individual and official capacity, is a resident of Delaware

County, State of Indiana, which is within the jurisdiction of the federal court of the Southern District of

Indiana. She is a duly elected member of the managing board of Defendant Gaston.

       5.      Defendant Beeson, in his individual and official capacity, is a resident of Delaware

County, State of Indiana, which is within the jurisdiction of the federal court of the Southern District of

Indiana. He is a duly elected member of the managing board of Defendant Gaston.

       6.      Defendant Durant, in his individual and official capacity, is a resident of Madison

County, State of Indiana, which is within the jurisdiction of the federal court of the Southern District of

Indiana.

       7.        Defendant Heather McGonigle, in her individual capacity, is a resident of Madison

County, State of Indiana, which is within the jurisdiction of the federal court of the Southern District of

Indiana.

       8.      This court has subject matter jurisdiction under 28 U.S.C. § 1331 because the Complaint

alleges claims arising under federal law, and supplemental jurisdiction over state claims pursuant to 28

U.S.C. § 1367.

                                       B.      Factual Allegations

       9.      Defendants Beeson and Hiatt are two (2) duly elected members of the managing board

of the Town of Gaston.

       10.     Katina Gleeson, a non-party in her individual capacity, is the third member of the

managing board of the Town of Gaston.
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         11.    Defendant Hiatt serves as the President of the Gaston Town Board.

         12.    Defendant Durant is a reserve Deputy Marshal for the Gaston Defendants, who is not

current on his mandatory law enforcement training hours.

         13.    Plaintiff Rex Harrold is a former reserve Deputy Marshal for the Gaston Defendants.

         14.    Currently, there are (4) full-time paid employees of the Town of Gaston. (3) of the

employees are male, and (1) is female.

         15.    The female employee is Tammy Dobbs, a non-party.

         16.    Plaintiff Barber, as one of the (3) male employees, has been employed by the Town of

Gaston as a law enforcement officer since 1998.1

         17.    At all times relevant, Plaintiff Barber was the duly appointed Chief Marshal for the

Town of Gaston.

         18.    At all times relevant, Plaintiff Barber was also a K-9 police officer for the Town of

Gaston.

         19.    At all times relevant, Plaintiff Barber’s hourly rate of pay was ($12.00).

         20.    Plaintiff Barber’s employment as Chief Marshal of the Town of Gaston is a

constitutionally protected interest requiring the opportunity for a fair hearing conducted in good faith

before a full and impartial body prior to termination of his employment pursuant to I.C. § 36-8-3-4 (the

Indiana Merit Law).

         21.      In August 2017, Plaintiff Barber and Plaintiff Harrold became aware that Defendants

Durant and Hiatt were openly speaking at the Gaston fair about fabricating allegations against Plaintiff




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    The other (2) full-time male employees are Ray Gillespie and Brian Hussung.
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Barber in order to terminate his employment then replace him.

        22.    Moreover, Defendant Durant told a fellow reserve Deputy Marshal during the Gaston

fair that he was: romantically involved with both Defendants Hiatt and McGonigle, and that he was

going to burn down Plaintiff Harrold’s house and family.

        23.    Defendant Hiatt was also telling numerous members of the community that she was

going to fire Plaintiff Barber.

        24.    On September 15, 2017, Defendant Beeson told a member of the community that he and

Defendant Hiatt were going to fire Chief Barber in about two weeks, and they already found someone

to replace Plaintiff Barber.

        25.    Also, during September of 2017, Plaintiff Barber and Plaintiff Harrold became aware

that Defendant Hiatt had solicited, and obtained written “complaints” from (5) individuals. Those (5)

individuals are Defendants McGonigle and Durant, Mike Dobbs, Ms. Dobbs, and the Dobbs’ adult

daughter.

        26.    Prior to these (5) complaints, Plaintiff Barber had no written complaints, reprimands, or

disciplinary reports.

        27.    As for Defendant McGonigle’s complaint, Defendant Hiatt instructed Defendant Durant

to conduct an “investigation,” including obtaining a written statement and conducting graphic interview

from Defendant McGonigle, which was recorded on a cell phone in a small room with young children

present.

        28.    At the time Defendant Durant conducted Defendant McGonigle’s “interview”,

Defendant Durant was also a complaining party, was not current on his statutory training hours to serve

as a reserve Deputy Marshal, was not qualified or trained in forensic interviewing, and had allegedly

suffered a stroke.
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       29.     Defendant Beeson served as a witness to Defendant McGonigle’s written statement,

along with Defendant Durant.

       30.     Upon knowledge and belief, Defendant Hiatt was present at the time the written

statement was made.

       31.     As for the written complaints of the Dobbs family, to date the Gaston Defendants have

refused to provide those documents even though the contents are known. Upon knowledge and belief,

Defendants Beeson and Hiatt were present as witnesses.

       32.     On October 12, 2018, the Gaston Defendants held a meeting of the managing board.

During the meeting, Defendant Hiatt moved to place Plaintiff Barber on unpaid administrative leave for

(5) days.

       33.     Defendant Beeson seconded the motion to place Plaintiff Barber on unpaid

administrative leave for (5) days.

       34.     Defendants Beeson and Hiatt then voted in favor of placing Plaintiff Barber on unpaid

administrative leave for (5) days. Ms. Gleeson voted against the motion.

       35.     Then on October 17, 2018, Defendants held a meeting of the managing board. During

the meeting, Defendant Hiatt moved to terminate the employment of Plaintiff Barber.

       36.     Defendant Beeson seconded the motion to terminate the employment of Plaintiff Barber.

       37.     Defendants Beeson and Hiatt then voted in favor of terminating the employment of

Plaintiff Barber. Ms. Gleeson voted against termination the employment of Plaintiff Barber.

       38.     At no time during the October 17, 2018 meeting did Defendants move to place Plaintiff

Barber on paid administrative leave pending the outcome of a merit hearing pursuant to I.C. § 36-8-3-4,

also commonly referred to as the Indiana Merit Law.


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           39.   At no time during the October 17, 2018 meeting did Defendants vote to place Plaintiff

Barber on paid administrative leave pending the outcome of a merit hearing pursuant to I.C. § 36-8-3-4.

           40.   Immediately after the meeting, the attorney for the Gaston Defendants presented the

undersigned counsel with a letter stating that the Gaston Defendants “determined that effective

immediately” Plaintiff Barber was on paid administrative leave.

           41.   Further, the letter advised Plaintiff Barber of his right to request a merit hearing within

(5) days pursuant to I.C. § 36-8-3-4.

           42.   On October 19, 2018, Plaintiff Barber, by counsel, served the Gaston Defendants with a

written request for a merit hearing.

           43.   The October 19, 2018 letter also put the Gaston Defendants on notice that Defendants

Beeson and Hiatt would be called as witnesses at the merit hearing.

           44.   Pursuant to I.C. § 36-8-3-4, the merit hearing was to be held not more than thirty (30)

days after the hearing is requested by the employee, unless a later date is mutually agreed upon by the

parties.

           45.   On or about October 26, 2017, Plaintiff Barber and Plaintiff Harrold were cleared of any,

and all, of the alleged criminal acts alleged by Defendants Hiatt, McGonigle, and Durant.

           46.   On November 2, 2017, the Gaston Defendants issued a letter providing the (4) categories

of charges supporting their basis for seeking to terminate Plaintiff Barber. The (4) categories of

charges were: neglect of duty; violation of rules; disobedience of orders; and conduct unbecoming of

an officer.

           47.   Those (4) specific categories contained (12) specific alleged violations. Of those (12)

allegations, (7) are complaints by Defendant Hiatt that Plaintiff Barber directly and continuously

refused to follow her orders. Those (7) are as follows:
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               A)     Direct and continuous refusal to enforce Gaston Ordinance 130.05 — Curfew for
                      Minors;

               B)     Direct and continuous violation of the Gaston Police Department Standard
                      Operating Guideline 97-23, 97-26, and 97-27 which prohibits all Gaston Police
                      Officers, including the Town Marshal, from patrolling outside the corporate
                      boundaries of the Town of Gaston unless specifically permitted to do so or if
                      such patrol is warranted by any one of the enumerated exigent circumstances;

               C)     Direct and continuous violation of the Gaston Police Department Standard
                      Operating Guideline 97-13 which requires all Officers of the Gaston Police
                      Department to complete a daily log sheet for each shift worked;

               D)     June 6, 2017 — Failure to provide Town Council with requested reports;

               E)     August 8, 2017 — Failure to provide Town Council with mileage logs;

               F)     September 7, 2017 — Failure to provide Town Council with dispatch log;

               G)     June 6, July 3, September 6, and October 4, 2017 — Failure to provide Town

                      Council with monthly calendars.

        48.    In other words, of the (12) specific violations alleged, Defendant Hiatt was the

complaining party and witness in support of (7) of the alleged violations. As for the remaining (5)

alleged violations, Defendant Hiatt acted as a witness and/or investigator.

        49.    The merit hearing was set on a date mutually agreed upon by the parties – November 16,

2017.

        50.    The merit hearing was then continued until a date mutually agreed upon by the parties –

December 6, 2017.

        51.    On December 5, 2017, Defendants filed a miscellaneous civil case seeking to quash the

subpoenas issued to Defendants Beeson and Hiatt.2

        52.    The Gaston Defendants unilaterally, not by mutual agreement of the parties or court




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order, cancelled the merit hearing.

       53.     The Gaston Defendants motion to quash the subpoenas issued to Defendants Beeson and

Hiatt, and motion for an order not to produce copies of documents, are currently set for hearings on

May 9, 2018 and May 14, 2018.

       54.     During a meeting of the managing board for the Gaston Defendants on January 11, 2018,

Ms. Dobbs, was hired for a part-time position with an advertised payrate of ($9.50) an hour. Moreover,

Ms. Dobbs did not meet the basic qualifications of the advertised position.

       55.     Defendant Hiatt immediately moved to raise Ms. Dobbs’ payrate to ($12.00) an hour,

which is an increase of ($2.50). Defendant Beeson seconded the motion. Defendants Beeson and Hiatt

voted in favor of the motion with Ms. Gleeson voting against the motion.

       56.     During the same meeting, one of the (3) male employees, with significantly more

experience and years of service, received a pay increase of ($.08) an hour. Again, Defendants Beeson

and Hiatt voted in favor of the motion with Ms. Gleeson voting against the motion.

       57.     Ms. Gleeson moved to give all (3) male employees a raise, but Defendants Beeson and

Hiatt voted against the motion.

       58.     On April 25, 2018, Defendants held a meeting of the board. During the meeting,

Defendant Hiatt moved to place Plaintiff Barber on indefinite unpaid administrative leave.

       59.     During the discussion of Defendant Hiatt’s motion, Defendant Hiatt stated that she was

doing it to “stop the bleeding”, that she had not consulted the Gaston Defendants’ attorney, and that she

could cite no law that would permit converting Plaintiff Barber’s statutory paid administrative leave to

unpaid administrative leave.

       60.     Defendant Beeson seconded the motion to place Plaintiff Barber on unpaid

administrative leave.
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       61.     Defendants Beeson and Hiatt then voted in favor of placing Plaintiff Barber on unpaid

administrative leave. Ms. Gleeson voted against the motion.

       62.     During the same meeting in which Defendants terminated Plaintiff Barber’s pay and

benefits, Ms. Dobbs pay was increased to ($14.00) an hour and given the title of Street Superintendent.

       63.     Defendants Beeson and Hiatt again voted in favor of the pay raise with Ms. Gleeson

voting against the pay raise. There were no changes in pay for the (3) male employees.

       64.     Defendant Hiatt even stated during the meeting that one of the male employees would

have to assist Ms. Dobbs with her job duties.

       65.     Thus, within approximately (3) months of making allegations against Plaintiff Barber

and Plaintiff Harrold, Ms. Dobbs was hired by Defendants Beeson and Hiatt, she received no less than

(2) pay raises and (1) promotion, while the (3) male employees with more experience and years of

service received: 1) termination of pay and benefits; 2) no pay raise; and/or 3) a deminimis pay raise.

                         Count 1 – (14th Amendment - Procedural Due Process)

       66.     Plaintiff Barber incorporates and restates paragraphs 1-65 above.

       67.     Count 1 applies to the Gaston Defendants, Defendant Hiatt in her individual and official

capacities, and Defendant Beeson in his individual and official capacity.

       68.     Under 42 USC Sec. 1983:

               “Every person who, under color of any statute, ordinance, regulation, custom, or usage,
               of any State or Territory or the District of Columbia, subjects, or causes to be subjected,
               any citizen of the United States or other person within the jurisdiction thereof to the
               deprivation of any rights, privileges, or immunities secured by the Constitution and
               laws, shall be liable to the party injured in an action at law, suit in equity, or other proper
               proceeding for redress, except that in any action brought against a judicial officer for an
               act or omission taken in such officer’s judicial capacity, injunctive relief shall not be
               granted unless a declaratory decree was violated or declaratory relief was unavailable.
               For the purposes of this section, any Act of Congress applicable exclusively to the
               District of Columbia shall be considered to be a statute of the District of Columbia”


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       69.     Law enforcement officers in the State of Indiana have a constitutionally protected

property interest in their continued employment. See I.C. §36-8-3-4

       70.     It is well established law that the Gaston Defendants are required to follow the specific

procedures of the Indiana Merit Law.

       71.     In fact, the applicable statutory section opens by stating: “[t]his section also applies to all

towns…that have full-time, paid police….” I.C. § 36-8-3-4

       72.     I.C. § 36-5-7-3 confirms that the Indiana Merit law must be followed when attempting to

suspend or terminate a town marshal or his/her deputies.

       73.     Before any police officer, including Plaintiff Barber, can be “suspended in excess of five

(5) days without pay, demoted, or dismissed, the safety board shall offer the member an opportunity

for a hearing.” (emphasis added)

       74.     The hearing must be “a fair hearing conducted in good faith before a full and impartial

body.” Sullivan v. City of Evansville, 728 N.E.2d 182 (Ind. Ct. App. 2000, citing Atkinson v. City of

Marion, 411 N.E.2d 622, 628 (Ind. Ct. App. 1980); Dell v. City of Tipton, 618 N.E.2d 1338, 1342 (Ind.

Ct. App. 1993)

       75.     “[T]he procedural standards should be at the highest level workable under the

circumstances, and that the fact-finding process should be free of suspicion or even the appearance of

impropriety.” Id. quoting Atkinson, 411 N.E.2d at 628.

       76.     Any decision of an administrative board “predicated upon a hearing devoid of the

requisite requirements is illegal and void.” Id. quoting City of Marion v. Antrobus, 448 N.E.2d 325, 329

(Ind. Ct. App. 1983).

       77.     The Gaston Defendants voted to terminate Plaintiff Barber’s pay and benefits for a

period of more than (5) days without holding a merit hearing, which is a violation of Plaintiff Barber’s


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right to due process of law.

          78.   The Gaston Defendants failed to conduct the merit hearing within (30) days unless first

selecting a mutually agreeable date beyond said period, which is a violation of Plaintiff Barber’s right

to due process of law.

          79.   At all times relevant, Defendants Beeson and Hiatt have acted as investigators,

witnesses, and voting members of the hearing board, which are violations of Plaintiff Barber’s right to

a fair hearing conducted in good faith before a full and impartial body, and his right to due process of

law.

          80.   The Gaston Defendants, through their words and their actions, have willfully refused to

provide the opportunity for a fair hearing conducted in good faith before a full and impartial body prior

to the termination of Plaintiff Barber’s employment.

          81.   Defendants Beeson and Hiatt have acted with deliberate indifference to the clearly

established laws setting forth the procedural due process requirements necessary to terminate Plaintiff

Barber.

                         Count 2– (Violations of the Fair Labor Standards Act)

          82.   Plaintiff Barber incorporates and restates paragraphs 1-81 above.

          83.   Count 2 applies to the Gaston Defendants, Defendant Hiatt in her individual and official

capacities, and Defendant Beeson in his individual and official capacity.

          84.   Under the Fair Labor Standards Act (“FLSA”), an employer must pay, or give

compensatory time (“comp. time”) to, an employee at least one and one-half times his or her regular

rate of pay for each hour worked in excess of (40) hours per workweek.

          85.   Under the FLSA, it is mandated that a K-9 handler be compensated for all “at-home

care” of the K-9 partner.

          86.   Under the FLSA, law enforcement officers can accumulate up to (480) hours of comp.

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time per year, and employers are prohibited from maintaining a “use it or lose it” policy.

        87.    At all times relevant herein, the Gaston Defendants have been “employers” of a law

enforcement officer, and K-9 officer, within the meaning of the FLSA.

        88.    At all times relevant herein, the Gaston Defendants were responsible for paying wages

to Plaintiff Barber.

        89.    At all times relevant, Plaintiff Barber was employed as a law enforcement officer,

including as a K-9 handler, who kenneled his K-9 partner at home.

        90.    Although Plaintiff Barber carried the title of Chief Marshal, he was not paid a salary and

he had no authority over the hiring and firing of subordinate officers. Thus, Plaintiff Barber is/was a

nonexempt employee for purposes of the FLSA.

        91.    Beginning in September 2017, the Gaston Defendants passed, and implemented, a new

employee manual containing a “use it or lose it” policy. Specifically, it states that “[c]omp. time can be

carried over into the following year but must be used by June 30 of that year. Comp. time needing to be

carried over after 1 year must have Town Council approval.” The new employee manual calculates

comp. time as “time and a half off with pay.” (emphasis added).

        92.    The new employee manual also requires prior request, and approval, for overtime

without providing exceptions for law enforcement and K-9 officers.

        93.    The prior employee manual did not contain a “use it or lose it” policy and calculated

comp. time as “time and one-half.”

        94.    At all times relevant herein, Defendant Hiatt refused to accept any time cards containing

overtime hours from Plaintiff Barber. In fact, Defendant Hiatt specifically instructed Plaintiff Barber to

redo his time cards and remove overtime hours before submitting them because he was not allowed to

have overtime.

        95.    At all times relevant herein, the Gaston Defendants refused to pay any expenses for the


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care, training, and maintenance of Plaintiff Barber’s K-9 partner.

       96.     The Gaston Defendants’ violations of the FLSA include, but are not limited to,: 1)

unlawfully maintaining a “use it or lose it policy”; 2) failing to provide overtime compensation for at-

home care of Plaintiff Barber’s K-9 partner; 3) failing to pay for, or reimburse Plaintiff Barber, for the

care and maintenance of Plaintiff Barber’s K-9 partner; 4) refusing to allow Plaintiff Barber to

accumulate and/or submit overtime hours; and 5) refusing to accept time cards from Plaintiff Barber

that contained his overtime hours worked.

       97.     The conduct of the Gaston Defendants, including Defendants Beeson and Hiatt in their

individual and official capacities, in failing to compensate Plaintiff Barber properly was, and is,

deliberate, willful, and not based upon any reasonable interpretation of the law.

       98.      Because of the Gaston Defendants’ willful and unlawful conduct, Plaintiff Barber has

suffered significant damages in the amount of unpaid overtime and expenses for his K-9 partner.

                       Count 3 – (Violation of the Fair Labor Standards Act of 1938,
                                  as amended by the Equal Pay Act 1963)

       99.     Plaintiff Barber incorporates and restates paragraphs 1-98 above.

       100.    Count 3 applies to the Gaston Defendants, Defendant Hiatt in her individual and official

capacities, and Defendant Beeson in his individual and official capacity.

       101.    The Gaston Defendants have discriminated against Plaintiff Barber in violation of the

Equal Pay Act by providing him, and his (2) male colleagues, with lower pay than his less qualified

female colleague on the basis of his gender, male, even though Plaintiff Barber performed duties

requiring more skill, effort, training, responsibility and experience than his female counterpart.

       102.    The Gaston Defendants discriminated against Plaintiff Barber by subjecting him to

discriminatory pay, discriminatory denials of raises and other compensation incentives, and other forms

of discrimination in compensation in violation of the Equal Pay Act.

       103.    The differential in pay between Plaintiff Barber and Ms. Dobbs was not due to seniority,
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merit, quantity or quality of production, or a factor other than sex, but was due to gender.

       104.    The Gaston Defendants caused, attempted to cause, contributed to, or caused the

continuation of wage rate discrimination based on gender, in violation of the Equal Pay Act.

       105.    The actions of Defendants Beeson and Hiatt constitutes a willful violation of the Equal

Pay Act within the meaning of the Equal Pay Act.

       106.    By reason of the Gaston Defendants’ discrimination, Plaintiff Barber is entitled to all

legal and equitable remedies available for violations of the Equal Pay Act, including liquidated

damages for all willful violations, prejudgment interest, attorneys’ fees, costs, and other compensation

pursuant to 29 U.S.C. § 216(b).

                     Count 4 – (14th Amendment – Violation of the 1st Amendment)

       107.    Plaintiff Barber incorporates and restates paragraphs 1-106 above.

       108.    Count 4 applies to the Gaston Defendants, Defendant Hiatt in her individual and official

capacities, and Defendant Beeson in his individual and official capacity.

       109.    Under 42 USC Sec. 1983:

               “Every person who, under color of any statute, ordinance, regulation, custom, or usage,
               of any State or Territory or the District of Columbia, subjects, or causes to be subjected,
               any citizen of the United States or other person within the jurisdiction thereof to the
               deprivation of any rights, privileges, or immunities secured by the Constitution and
               laws, shall be liable to the party injured in an action at law, suit in equity, or other proper
               proceeding for redress, except that in any action brought against a judicial officer for an
               act or omission taken in such officer’s judicial capacity, injunctive relief shall not be
               granted unless a declaratory decree was violated or declaratory relief was unavailable.
               For the purposes of this section, any Act of Congress applicable exclusively to the
               District of Columbia shall be considered to be a statute of the District of Columbia”

       110.    The curfew ordinance for the Town of Gaston, § 130.05, provides in relevant part as

follows:

               A)      Curfew imposed. No person under 18 years of age shall remain, loiter, or wander
                       on or about the public streets, sidewalks, alleys, or public parks within the town
                       between the hours of 9:30 p.m. and 4:00 a.m.

               B)      Enforcement. Each person under 18 years of age found on the streets, alleys, or
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                        public places shall be taken into custody and returned to his or her home by a duly
                        appointed law enforcement officer.


       111.      The only exceptions to the curfew ordinance are:

                 A)     When the minor is accompanied by his or her parent, guardian, or other adult
                        person having the care and custody of the minor;

                 B)     When the minor is upon an emergency errand directed by his or her parent or
                        guardian or other adult person having the care and custody of the minor;

                 C)     When the minor is returning directly home from a meeting, entertainment,
                        recreational activity, or dance; or

                 D)     Trick-or-treating shall be limited to the calendar day of the holiday of
                        Halloween, between the hours of 6:00 p.m. and 9:00 p.m.

       112.      In Hodgkins v. Goldsmith, No. IP99-1528-C-T/G, 2000 WL 892964, at *18 (S.D.Ind.

July 3, 2000) ("Hodgkins I") and Hodgkins v. Goldsmith, 355 F.3d 1048 (7th Circuit 2004)(“Hodgkins

II”), the 7th Circuit Court of Appeals held that a curfew ordinance, such as the Gaston Defendants’

curfew ordinance, violates the 1st Amendment to the Untied States Constitution.

       113.      I.C. §31-37-3-2 sets the curfew for children between the ages of (15-17) as follows:

between 1 a.m. and 5 a.m. on Saturday or Sunday; after 11 p.m. on Sunday, Monday, Tuesday,

Wednesday, or Thursday; or before 5 a.m. on Monday, Tuesday, Wednesday, Thursday, or Friday.

       114.      For children less than (15) years of age, the curfew is from 11 p.m. to 5 a.m. on any day.

I.C. 31-37-3-3

       115.      The Indiana curfew statutes prohibit law enforcement officers from simply taking

“[e]ach person under 18 years of age found on the streets, alleys, or public places” after curfew into

custody and/or returning them to his or her home.

       116.      Moreover, I.C. § 31-37-3-4 prohibits the Gaston Defendants from implementing or

enforcing a curfew ordinance that advances the curfew time by more than two (2) hours.

       117.      The Gaston Defendants’ curfew ordinance is facially unconstitutional and in direct


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violation of Indiana law.

       118.    The Gaston Defendants have willfully and deliberately violated the 1st Amendment to

the United States Constitution and Indiana law by implementing and enforcing the curfew ordinance.

       119.    Defendants Beeson and Hiatt have willfully and deliberately:

               A)      Demanded that Plaintiff Barber enforce the unconstitutional curfew ordinance
                       and violate the 1st Amendment Rights of juveniles within the Town of Gaston;

               B)      Threatened Plaintiff Barber with disciplinary action, including termination, for
                       failing to enforce the unconstitutional curfew ordinance and for failing to violate
                       the 1st Amendment Rights of juveniles within the Town of Gaston; and

               C)      Suspended Plaintiff Barber with, and without pay, for failing to enforce the
                       unconstitutional curfew ordinance and for failing to violate the 1st Amendment
                       Rights of juveniles within the Town of Gaston.

       120.    Therefore, this Court should declare Town of Gaston Ordinance §130.05

unconstitutional, issue a permanent injunction prohibiting its enforcement, and order that the Gaston

Defendants pay reasonable attorney fees.

                                     Count 5 – (State Law Defamation)

       121.    Plaintiff Barber and Plaintiff Harrold incorporate and restate paragraphs 1-120 above.

       122.    Count 5 applies to Defendants Hiatt, Beeson, McGonigle and Durant, in their individual

capacities only.

       123.    A defamatory communication is one that "tend[s] to harm a person's reputation by

lowering the person in the community's estimation or deterring third persons from dealing or

associating with the person.” Kelley v. Tanos, 865 N.E.2d 593, 596 (Ind. 2007)

       124.    Defendants Hiatt, McGonigle and Durant, in their individual capacities only, conspired

and caused an Indiana State Police investigation to be instituted against Plaintiff Barber and Plaintiff

Harrold based on false statements.

       125.    Defendants Hiatt, Beeson, McGonigle and Durant, in their individual capacities only,

have made numerous false statements about Plaintiff Barber and Plaintiff Harrold to members of the
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Gaston community, as well as others, related to sexual misconduct, criminal conduct, and professional

misconduct.

       126.    Under Indiana law, the statements made by Defendants Hiatt, Beeson, McGonigle and

Durant, in their individual capacities only, are defamatory per se.

       127.    Defendants Hiatt, Beeson, McGonigle and Durant, in their individual capacities only,

were primarily motivated by ill will in making the statements and made the statements without belief or

grounds for belief in the truth.

       128.    Defendants Hiatt, McGonigle and Durant, in their individual capacities only, acted with

malice shown by each of the following acts, but not limited to: 1) Defendants Hiatt and Durant’s

statements to others that they would fabricate allegations against Plaintiff Baber and Plaintiff Harrold

in order to terminate their employment; 2) Defendants Hiatt and Durant enlisting Defendant

McGonigle to make false allegations against Plaintiff Barber and Plaintiff Harrold with full knowledge

that Defendant McGonigle had made false child molesting allegations against her ex-husband in 2016;

and 3) Defendant Hiatt’s use of Defendant Durant, an untrained and unqualified reserve officer, to

conduct the investigation and interview of Defendant McGonigle.

       129.    Defendants Hiatt, McGonigle and Durant, in their individual capacities only, engaged in

defamation per se, should be found liable, and ordered to pay compensatory and punitive damages.

                                          PRAYER FOR RELIEF

       Wherefore, Plaintiff, Carl Barber, Jr. and Plaintiff, Rex Harrold, respectfully request the Court:

       A. Award compensatory damages to Plaintiff Barber for defamation per se, and for violations

           of Plaintiff Barber’s rights under the Due Process Clause of the 14th Amendment to the

           United States Constitution and 42 U.S.C. §1983, the Fair Labor Standards Act, and the

           Equal Pay Act;

       B. Award compensatory damages to Plaintiff Harrold for defamation per se;
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       C. Award punitive damages against the all Defendants for their intentional, willful, and wanton

           wrongdoing against Plaintiffs;

       D. Award attorney fees and costs;

       E. Declare Town of Gaston Ordinance §130.05 unconstitutional and issue a permanent

           injunction prohibiting the enforcement of said ordinance; and

       F. Grant all other relief the Court deems just and proper.

                                            JURY DEMAND

       Plaintiffs demand a trial by jury on all issues allowable as alleged in this Complaint pursuant to

Rule 38(b) of the Federal Rules of Civil Procedure.

                                                      Respectfully Submitted,

Date:_ 05-03-2018                                     /s/ Brian M. Pierce
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